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Page #11 Location: St. Regis Hotel Date: May 31,2005 InspeCtor: David Behar AEI Project #~1389-6613




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                         Note: This search performed subsequent to September 11, 2001
                         and Dept. of BuHdings limited access regulations app~y.  · · ·

                         Attached find a copy of Certificate of OccupancY# 104514 ·
                         issued on 02/02/1994 FOR A 19 STORY FIREPROOF
                         BUILDING; EATING AND DRINKING ESTABLISHMENT,             .
                         ACCESSORY HEALTH FACIUTY, OFFICE, BANQUET ROOMS,
                         BARBER SHOP, BAKE SHOP AND HOTEL ' ROO~S. · . · ·

                         According to the Building Depaitment Index records, there
                         are no alteration p/Bns ilpproved subsequent to the  ·· .
                         Certificate of Occupancy rhBt either change or.propase to
                         change the legal occupancy of these premises.          ··




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     Municipal Data Services Inc. certifies that the records of the above inuiiicfPal
 sgency were examined on behalf of FIRST A ·MERICAN TITLE INSURANCE CO,. The information
·r eported above Is s trUe snd accumte abstrBct of the information on file therein •
 .This report Is submitted for information purposes only. No /lability is assumed.    · ·

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                         { HOUSING AND BUILDING DEPARTMENT SEARCH)



PREMISES: 699       I   103 5 AVBNUB
       AKA: 2 /      1.2 BAST 55 S'l'RBBT                                            MANBATTAN


A ...n:h of the recorda of the Department of Building., and tM ~nt and HDU81ng MaJntenance Department
of the city of New Yorll: was made on     °                                                 pendm8:
                                          8 131 1 2005 • The following violation• w... rwpartad         ·..


BUILDING DEPARTMEtre
          (l.)  VIOLATION ATTACHED
           (1.3) VIOLATIONS - NO COPIES AVAILABLB (SBB ATTACHED LBTTBR)

RENT AND HOUSING MAINTENANCE DEPARTMENT:
          VIOLATIONS ATTACHED

BUILDING CLASSIFICAnON:
 .HBRBTOFORB BXISTING CLASS "Bn MCJLTIPLB DWELLING

I!J MUltiple DweDing            434 Rooms
0 Not a MullliM Dwelling




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                                                          NYC-De,.nment of Buftdlnp
                                                            ECB VIolation Detalla
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fRed At: 2 EAST 5I STREET. MAN           I   NY 10022
ECB VIol Number: 31152181L                                            VIOL ACTIVE                                a.tus: NO COIFL RECORD
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ST. REGIS HOTEL • 2 EAST 55 STREET , NY , NY 10022                                                    GEOFblg:           1
VIol ....... o...:       0611412005                            DeUV.red Date:        .0811412005
VIol Typ.:               EL • ELEVATOR                         DOB Viol Nurnbv.       081405E2183A01
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Sc:hed Hrg Datr.         08104/200S                            Hnrlng Tlme:          10:30 .          LDc:etiDn:         9
Amaunt Imposed:          $350.00                               Amount Paid:          $0.00
Haring Se.lus:           V -IN VIOlATION                       CDinpr Saatus:        N ·NO COMPL RECORD
Compl BV Data:           1110812005                            CompiU.t flag:
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Historical ~t Da...:
CUR:               HRG:            0812512005      COM:                                               STPACC:
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If you have any quesUons please revtew these Fma'uen!ly A!ked OUestions. the GJayarv. or caU the 311                Cntze~ Service cen~ by
                                 dialing 311 or(212) NEWYORKoutslde ofNewYort;cCily. · ·


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                             ELEVATOR VIOLATIONS

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                                      DBPAR!I1mNT OF AIR RESOURCES




     DATE:          08/~1/2005

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     cr.IBNT:       FI-256 300834176NY1/D
     PRBMISBS: 699 I 703 5 AVBNUB
          AKA: 2 I 12 BAS'I' 55 S'I'REET
     BLOClt:        1290    IDT: 69
     MANHATTAN




             KINDLY CONDUC'l' A SEARCH, IN YOUR DEPAR'IMBNT, POR VIOLATIONS
             AGAINST THE ABOVB PREMISES.


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                                                       RESPECTFULLY,.

                                                       MUNICIPAL DATA SBR.VICBS INC.




                                         INFORMATION AT'l'ACHBD
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                            Mmricipal Date Sc:rvices
                            30 Bay Street
                            Statm Island. NY 10301

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. Christopher 0. Ward
 Commissioner
                            Please be advised. it is a violation of the New York City AdmiDistrative Code,
                            'ritle 24. Air Pollution Control Code; to operate fucl-bumiug, refUse or prvcess
                            equipment as specified in the Code without a valid Cc:rtificate. If sucb equipmCIIt
                            exists, although unknown to us it is automalicaJly in vio~on of the law. This
                            provision applies regardlcss of the iDfonnation provided hc:nilia.

                            The Division of Air/Noise Pcrmittmg, Enforcement and Policy ha& SC8ICbcd i1s
                            records regarding the above rcfCieDCed prCmisc and has foUDd:

                            _       No records for this premise.

                                ~utstanding record ofviolation{&).
                            _       AdditioDaJ information. Sec attachment( B)~ Please note that a certificate
                                    that has expired may be subject to violation unless the cc:rtifieate is ·
                                    renewed or canceled by the current or potential owncr. The o'WDCI', on the
                                    date of issuance of any violation. is responsible for bo1h penalty and.
                                    com~~Ce.                                      .                    ·




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                                                     RECORDS CONTROL~
                                                             (718) 595-3855



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                             Bureau of Environmental Compliance                           Dale: 08/02.105
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ST.REGIS SHERATON HOTEL
2 EAST 56 STREET
MANHATTAN NV 10022


Fecltlll                                                                      $180.00      11122196
ST REGIS HOTEL
2 EAST 55 STREET                                                              $600.00      1112219B
MANHA1TAN NY 10022                                                            -s a1o.oo
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Max Firing Rate; 57



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2 EAST 55 STREET
MANHATTAN NY 10022


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MANHATTAN NY 10022                                                        $.00

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Proc:ess DncdpUon
 DRY CLEANING:ONE VIC#1250 F/S,DRYTO DRY CLEAN.MACHINE.
 3RO GENERATION(E.P:#1; E.R"C; E.N:#16338
 EXHAUST SYS:CLOSE SYSTEM,FUGmvE EMISSIONS.
 CONTROL OEVICE:GEN.EXH.VENT.SVS.REQUIRE BY 11/15198 A
 DOOR FAN WITH CARBON ADSORBER IS REQUIRED BY 5111101
 FLTER WASTE LESS THAN 25%,STILL RESIDEUE LESS THAN 60%
 PERC,DRAIN FILTER CARTRIDGE 24 HRS.IN ALTER HOUSING.
 LEAKS TO BE REPAIRED WITHIN 24 HRS.      .

% By Season : Winter. 20 Spring: 30 Summer. 20 Fall: 30   Hour&IDay. 24 Days/Year: 365
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Facllty No.: 1 Y7171                                                              Work Penni
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OMwr:
THE REGIS HOTEL
2 EAST 55 STREET
MANHATTAN N.Y. 10022


FKIJitr                                                   Lut~Au...... :          $.00
THE ST.REGIS HOTEL
2 EAST 65 STREET                                          Lut Pllf Amounl:        $250.00        10111101
MAMiATTAN NY 10022                                        Balance Dur.            $.00

               Fklor.01

Proc:as De5Cripaon
 ONE UNION, P736U2000, NON-VENTED DRY-TO..DRY REFRIGERATED,TOTALLY EN-a..OSE
 MACHINE, WITH BUILT~N CARBON ABSORBER, SPIU. TANK & DRYING SENSOR (4TH GENERAllON)
 MACHNIE'S SERIAL NUMBER: 101-A1..0859 3081
 EXHAUST SYSTEM: CLOSED SYSTEM.FUGrTIVE EMISSION
 CONTROL DEVICE: PRIMARY AND SECONDARY CONTROLS AND DRYING SENSOR
 GENERAL EXHAUST SYSTEM CAPABLE OF 12 AIR CHANGES PER HOUR



% By Season : Winter: 20 Spring: 30 Summer: 20 Fall: 30   Hours/Day: 6 Days/Year: 280




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                                 First American Title Insurance Company of New York
                                               633 711/rd Aven04 New Yo~ NY JOOJ7
                                               (ZlZ} 922-9700 • FIIX (ZJZ) 9ZZ..IJ88J



                   July 6, 2005

                   Starwood Hotels & Resorts
                   1111 Westchester Avenue
                   White Plains, NY 10604

                   Attn: Seth Ruzl

              . RE:              T1de No.:     34176NY1
                                 Premises:     699-703 5th Avenue, Unit No• ._--~ CONDOMINIUM TO BE FORMED
                                               New York, NY
                                 Record OWner: SLT PALM DESERT, U.C
                                 Pun:haser(s):

                   Dear Mr. RUZI,
                   As you requested, enclosed please find the following municipal searches:




                                     Are Search
                                     Fuel Pennlt/011 Burner
                                     Highway Search
                                     Housing and Bullcrmg
                                     street Report
                   An{ searches Or returns reported     herell1 are furnished FOR INFORMATION ONLY. The Company assumes
                   no Dablllty for these searches or for the accuracy thereof. They are not part of the aforementioned title
                   report and, therefore, will not l;)e mnt:lnued to the date of dosing.




              07::;1: _fJ~~
                   Vina!l'lt L Plaia, Esq.
                   Counsel .

               VlP/a.
               oc: Jay A. Nevelotf, ESq.
               (Kramer .a-in Naftall~ & Frankel U.P)
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     BLOC.IC:       ·1290    LO'l': 69




               KINDLY CONDUC'l' A SBARC!H, IN YOUR DBPAR'l'HBNT, FOR VIOLA'l'IONS
               AGIUNST T1lB ABOVB' P~SBS.




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                                                        HrJNICIPAL DATA SBRVICBS INC.




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Environmental                 Staten Island, NY 10301
Protedlon
SP·1 7 jln:tlan lcallc¥ald
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11)7>-.51011




Christopher 0. W1rd
Commlsaloner
                              Please be advised. it is a violanon of the New Yode City Administrative Code,
                              Title.24, Air Pollution Control Code, to operate fuCI-blD'Ding, refUse or process
                              equipment as specified in lhe Code without a valid Certificate. If such equipment
                              exists, aJthougb unknown to us it is automatically in violation oftbc law. This
                              provision applies regardless of the infonnatioo provided herein. .

                              The Divisioa of Air/Noise Permitting. Enforcement md Policy bas searched its
                              reeords regarding the above referenced premise and ~ found:

                              _      No records for this premise.

                             ~outstanding record of violation(s).
                              _      Additional information. Sec attachment(s). Please note that a certificate
                                     tbat bas expired may be subject to violation unless the certificate is
                                     renewed or cane:eled by the cum:nt or potential owner. ·11ac owner, on the
                                     date of i~ of any violation, is responsible for both peaalty and ·
                                     compliance.




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                              Page 1 of _ _




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                                                        ·RECORDS CONTROL UNIT
                                                              (718) 595-3855


 "~'C•••~••'·•••ldar)
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                                     Bureau of Environmental Compliance
                                        69-17 Junc:tlon Blvd.. Copna. N.Y. 11388
                                                      Reoardl Control

                                                                                   Certificate to Operate
                                                  PA001187J                        UnlaiOIWI

OWnr.

    ST. REGIS HOTS.
    2 EAST li5 STREET
    MANHAITAN NY 10022


    Feclar                                                                         $.600.00
    D.B.AIST.REGIS SHERATON HOla
    2 EAST 65 STREET                                                               $250.00
    MANHAlTAN NY 10022                                                             $.00



    Proceu.~
     DRY a.EANING:ONE VJC#1250 F/S,ORYTO DRY CLEAN.MACHINE.·.
      SAO GENERAT10N(EP#1; E.R."C; E.N:#16338
     'EXHAUST SYS:ct.OSE SYSTEM,FUGrTIVE EMISSIONS.
       CON'JROL OEVICE:GEN.EXH.VENT.SVS.REQUIRE BY 11115198 A
       DOOR FAN Wmt CARBON ,ADSORBER IS REQUIRED BY 15111101
     . FILTER WASTE LESS THAN 25%.snt.L RESIOBJE LESS T'HAN 60%
      PERC,DRAIN FILTER CARTlWGE 24.HRS.IN FlLTER HOUSING.
       L.EAK.S TO BE ~AIRED WlTHIN 24 HRS.

    % By Sea!sOn .: Wln1er: 20 Spring: ~ SUmmer: 20 FaD: 30   HoursiDay: 24 DaysiY.-: 385




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                            Bureau of Environmental Compliance                            Date: 04118105
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                                            Records Control

Fdlly No.: 1 XP66
~     On:0411811997                      PA016791Y
OWMr: .

ST.REGIS SHERATON HOTEL
2 EAST 65 STREE1
MANHATTAN NY 10022


FeclaJ
ST REGIS HOTa                                         . . . Fee . . . . . . .   $190.00    11t22196
2 EAST 55 STREET                                      . . . , . , Amounl:       $500.00    11122196
MANHATTAN NY 10022                                    BIIMceDue:                ~310.00




Max Firing Rate: 57
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FIICIIty No.: 1 Y7171
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ow-:
THE REGIS HOla
2 EAST 55 ·STREET
MANHATTAN N.Y. 10022


F8clllr                                                                    s.oo
THE ST.REGIS HOTEL
2 EAST 55 STREET
                                                          LaC,.,
                                                          LuaFMAa...ed:
                                                                  Mount:   $250.00 :      .. 10111101
                                                          8llance Dur.     $.00
MANHATTAN NY 10022

         Floor:01

~-Description                                                         .      .
 ONE UNION, P735U2000, NON·VENTED DRY·TO.ORY REFRIGERATED,TOTALLYEN-ClOse·.         .
 MACHINE. Willi BUIL:T...JN CARBON ABSORBER. SPIU TANK & DRYING SENSOR (4TH GENERATION)
 MACHNIE'S SERIAL NUMBER: 101-A1-0859 3087 ·                  ·                           .
 EXHAUST SYSTEM: CLOSED SYSTEM,FUGITIVE EMISSION
 CONTROL DEVICE: PRIMARY AND SECONDARY CONTROLS AND DRYING SENSOR
 GENERAL EXHAUST SYSTEM CAP~ OF 12 AIR CHAN.GES PER HOUR .                                                    . ...


% By Season : Winter: 20 Spring: 30 SUmmer. 20 Fail: 30    Hours/Day. 6 Days/Yeir. ~
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                             INC.
                  UAftN ~BLAND. Jill' IIMl
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            CLIENT:. Fl-256          TITLE#: 300834176NY11C       04/08/2005
            699 I 703 5 AVENUE
    AKA: 2 I 12 EAST 55 STREET
            MANHATTAN
            BLOCK: 1290               LOT: 69


                                 CERTIRCA TE OF OCCUPANCY SEARCH ·



                        Note: This search performed subsequent to September 11, 2001
                        and Dept. of Buildings limited access regulations apply.    ·

                        Attached find a copy of Certificate of Occul?_ancy # 104514
                        issued on 02/0211994 FOR A 19 STORY FIREPROOF
                        BUILDING; EATING AND DRINKING ESTABLISHMENT,
                        ACCESSORY HEALTH FACIUTY, OFFICE, BANQUET ROOMS,
                        BARBER SHOP, BAK SHOP AND 534 APARTMENTS.

                        According to the Building Department Index records, there
                        are no alteration plans approved subsequent to the
                        Certificate of Occupancy that either change or propose to
                        cJ?ange the legal occupancy of these premises.




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   Municipal Oata SeNices Inc. certifies that the records of the above 'municfpa/    .
agency were tJxamlned on behalf of FIRST A·MERICAN.TinE INSURANCE CD,. The information
fJJported above is a true and sccurate abstract of the information on file therein.
711/s report Is submi!fef! for infor,mation purposes only. No liability is assumed.

                                                                        2501732       7441633
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                                       EMERGENCY REPAIRS
 Client     .    PI-256                                                                                       04/0B/2005
                                                                                                 Date:
 TlUe No:        300834176NYl/C
           699          I    703 5 AVBNUB   . .
 PremiSJiA: . 2 /           12 BAST 55 STRBBT



. The sean:h of the last prtrdBd len book reveals lhe toaowtng ~ repak' money due :
                    ~2/31/2004
          Da~:    --------------
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 The result d the work-in-progress search revealS lhat:


                c:J No ok     Emergency Repairs have been giYen •       at the above-captioned premises albsequert to the abova ~date

                    The~ Emergency Repairs have been given~ at the aboYe-captioned prenJs8s and 1n :not posted In the last
                D   printed lien book:                  .
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                      Dale of P.O. ·         P.O..I




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         Municipal Data ·s ervices: Inc. certifies that the .recoZ:ds of the. above
     municipal agency were examined on bebal.f of FIRST AMBRICAN Tifi.B INSURANCB                                                       .•    .
     co,. Tbe information reported above is a true and accurate abstract of the
     information on file therein ... Tbis report is submitted for infonnation
     purposes only. No ~iability is assumed.
                                                                                                 2501732           7441637               ·.       ..
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                                         DEPARTMENT OF TIE CITY Of N~. .. ORK
                                                 BUREAU OF FIRE PREVEN110N
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                                                    BROOI<L.YN.-".Y.11201

                                           I RECORD SEARCH REQUEST I
MALlO:
 .                .
         .aJNJCIPAL DATA SERVICES. INC.
         30 BAY STF<EET 2nd FLOOR
         STATEN ISLAND, NEW YORK 10301
         PHOtE (1t8) 815-0707
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                                                                                 CIEQa)ft               I__
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                                                           PI-256 300834176.NY1/C
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      AKA:    2 I l2 BAS'r 55 S'l'RBB'l'
   ------:----699_1 103 5 AVBNUB                           - - - - - - · -· -·- - - - - ·           MANHAT.l'AN
                    ADDRESS                                                                                 BOROUGH

                  [il1. Record of existing Fire Department VIolations   -------FEE: $10.00
                  D    2.   RacanSarPamlu                                                                   FEE:   ·s1o.oo
                  o~~                                                                                       ~~~
   State aPPlicantS IntereSt 1n or relation to pram1ses:                                       TOTAL FEE: $10.00

                                            TITLB' INSURANCB
      . (TME CITY OF NEW YORK IS NOT BEING .SUED, NOR IS llEREAHY IN1BmON TO SUE.lliE. aTY
                                                                                         . OF NEW YORK)


                                                                     Signed     'MUNICIPAL DATA SBRVICBS · INC
                                                                                04/07/2005 . . . :
                                                                     Date

                                            DO NOT WRITE BB.OWlltiS UNE          ..

  Gentlemen:                                                                                    .   .   .
               . In reply to your request concerning 1he premises mentioned above, ~sse 'be advised

             . ·thai ~ or s A..M.,             DEc l s )lJI1.4 ·                      the recclrds show the following:

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                                                                                      Chief, In 01arga
                                                                                      Division of Fire Prevention .
                                                      . .
  VIOLATIONS RECORDED ABOVE ARE ONLYniOSE WHICH ARE A MAlTER OF RECORD,IN HEADQUARTERS
  Of= THE OMSION OF FIRE PREVENTION, AND MAY NOT INCLUDE VIOLATIONS ISSUED 8Yt.OCAL UNITS.

                                                                                      2501732
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                   RE:               FIRE DEPARTMENT VIOLATIONS



                  · WE IiAVE BEEN INFORMED BY
                     .T HE. FIRE DEPARThffiNT
                                     .              .


                   ..PERSONNEL THAT .   COPIES OF ALL             .               .

                      VIOLATIONS ARE UNAVAILABLE
                   AT THIS TIME. THANK YOU .

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                                         OEPARTIIENT OF THE CITY OF N£.           oRK
                                                BUREAU OF FlRE PREVENTION
                                                  9 METROTECH CENTER
                                                  BROOI<LYN, N.Y.11201
                                                              •
                                           I RECORD SEARCH REQUEST I

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MAIL TO:                                                                    OECKEDBY:
           MUNICIPAL DATA SERVICES, INC.
           30 BAYS I REET 2nd R.OOR
           STATEN ISLAND. tEWYORK 10301
           PHONE (718) 815-0707



                                                     FI-256 300834l16.NYl/C
                                         TITlE NO. ------------------~-----------



           AKA:     2 I l2 BAST 55 STREBT
                    699 I 103 sA~_·- __ ·- - -·- __ .... ----·- --·- _ -~"rfM!                             ··--·. _
                                                                         BOROUGH

                   0 1. Record of existing Fe Department Violations - - - - - - - - - - - FEE: $10.00
                   11J2. RacxxdafPennlb         OIL BDRNBR-C                              FEE: $10.00
                   o~~                                                                             ~~~
    State appGcants Interest in or relation 1D premiseS:                                   TOTAL FEE: 110.00

                                        TITLB INSURANCB
           (THE ~nv OF NEW YORK IS NOT BEING SUED, NOR IS THERENff IN1'BmON TO SUE THE CllY OF NEW YORK)


                                                                              HDNICIPAL DATA SBRVICBS INC.

                                                                   Date       04/07/2005

                                           DO NOT WRITE BELOW THIS LINE

   Gentlemen:
                  In reply to your request c:onceming the premises mentioned above, please be advised
                                               DEC 1 5 2004
                  1hatasof9A..M., - - - - - - - - - - - - - - - - - - - the records show the following:


                                      NO OIL BURNER PERMIT
       ·                          .    -;r"'7~                                    awr. 1n Charge
   SEARCHEDBY: ____          !;r __ ~ _ -·-·- ·-·                                 DlvlslonofFirePnsvrion
   VIOLATIONS RECORDED ABOVE ARE ONLYlHOSE WHICH AREA MATTER OF RECORD IN HEADQUARTERS
   OF THE DMSION OF FIRE PREVEN110N, AND MAY NOT INCLUDE
                                                      . VIOLA110NS
                                                           .       ISSUED BY LOCAL UNITS.

                                                                                  2501732
